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         ORDERED in the Southern District of Florida on June 23, 2024.




                                                       Mindy A. Mora, Judge
                                                       United States Bankruptcy Court
_____________________________________________________________________________
                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       www.flsb.uscourts.gov

         In re:

         TINTO HOLDING LTDA.,                                         Chapter 15
                                                                      Case No.: 23-11719-MAM
               Debtor in a Foreign Proceeding.
         ____________________________________/

         AJ RUIZ CONSULTORIA EMPRESARIAL
         S.A., solely as Judicial Administrator and
         foreign representative of TINTO HOLDING
         LTDA.,
                  Plaintiff,
                                                                      Adv. Case No. 23-01118
         v.

         COLORADO INVESTMENT HOLDINGS
         LLC, J&F INVESTIMENTOS S.A., JJMB
         PARTICIPAÇÕES LTDA., WWMB
         PARTICIPAÇÕES LTDA., JOESLEY
         MENDONÇA BATISTA, WESLEY
         MENDONÇA BATISTA and JBS S.A.,
               Defendants.
         ____________________________________/

           ORDER DENYING PLAINTIFF’S MOTION TO STRIKE DEFAMATORY AND
         SCANDALOUS MATERIAL PURSUANT TO 11 U.S.C. § 107(b)(2) AND RULE 9018 OF
                  THE FEDERAL RULES OF BANKRUPTCY PROCEDURE
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        This cause came before the Court on June 5, 2024 at 10:00 AM, upon the Motion to

Strike Defamatory and Scandalous Material Pursuant to 11 U.S.C. § 107(b)(2) and Rule 9018 of

the Federal Rules of Bankruptcy Procedure (the “Motion”) filed by Plaintiff. See ECF No. 86.

The Court has reviewed the Motion and all relevant filings. For the reasons stated on the record

at the hearing, it is hereby ORDERED and ADJUDGED that the Motion is DENIED.

                                               ###

Submitted by:

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Attorney Miller is directed to serve this order upon all non-registered users or registered users
who have yet to appear electronically in this case and file a conforming certificate of service.




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